                                          Case 4:18-cv-02109-JSW Document 21 Filed 09/26/19 Page 1 of 2




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                                   4                               UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    JOHN HENRY LEE,                                    Case No.18-cv-02109-JSW
                                                     Plaintiff,
                                   8
                                                                                           JUDGMENT
                                               v.
                                   9

                                  10    DANNY MALLY, et al.,
                                                     Defendants.
                                  11

                                  12         Judgment is entered in favor of Defendants.
Northern District of California
 United States District Court




                                  13         IT IS SO ORDERED.

                                  14   Dated: September 26, 2019

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                                                                                                  JEFFREY S. WHITE
                                  17                                                              United States District Judge
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                                          Case 4:18-cv-02109-JSW Document 21 Filed 09/26/19 Page 2 of 2




                                   1
                                                                      UNITED STATES DISTRICT COURT
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                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   3

                                   4    JOHN HENRY LEE,
                                                                                              Case No. 4:18-cv-02109-JSW
                                   5                   Plaintiff,

                                   6            v.                                            CERTIFICATE OF SERVICE
                                   7    DANNY MALLY, et al.,
                                   8                   Defendants.

                                   9

                                  10          I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S.

                                  11   District Court, Northern District of California.

                                  12
Northern District of California
 United States District Court




                                  13          That on September 26, 2019, I SERVED a true and correct copy(ies) of the attached, by

                                  14   placing said copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by

                                  15   depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery

                                  16   receptacle located in the Clerk's office.

                                  17
                                       John Henry Lee ID: AW0379
                                  18   California Health Care Facility
                                       P.O. Box 32290
                                  19   Stockton, CA 95213
                                  20

                                  21
                                       Dated: September 26, 2019
                                  22

                                  23                                                      Susan Y. Soong
                                                                                          Clerk, United States District Court
                                  24

                                  25

                                  26                                                      By:________________________
                                                                                          Jennifer Ottolini, Deputy Clerk to the
                                  27
                                                                                          Honorable JEFFREY S. WHITE
                                  28
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